Case 1:18-cV-01209-.]TN-ESC ECF No. 2 filed 10/26/18 Page|D.lQ Page 1 of 3

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

CASEY GRITTER, the Natural Mother and
Next Friend of JOSEPH GRITTER, a minor,

Plaintiff, Case No: l:18-CV-1209
Hon.
vs.

COMSTOCK PARK PUBLIC SCHOOLS
and JASON RYKSE,

Defendants.
DAVID E. CHRISTENSEN (P453'74)
SARAH S. STEMPKY KIME (P74167)
THOMAS N. ECONOMY (P60307)
CHRISTENSEN LAW
Attorneys for Plaintiff
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Southfleld, MI 48033

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dchristensen@davidchristensenlaw.com

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PLAINTIFF’S EX PARTE MOTION TO APPOINT NEXT FRIEND
NOW COMES Plaintiff, JOSEPH GRITTER, by and through his attorneys,
CHRISTENSEN LAW, and for his Ex Parte Motion to Appoint Next Friend, states as follows;
1. Plaintiff, Joseph Gritter, is a minor that is bringing a personal injury and civil rights
action and seeks to have his mother appointed as Next Friend for that lawsuit.
2. Plaintiff’s mother, Casey Gritter, agrees to be appointed as Next Friend and is

willing to execute those duties in accordance With the law.

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WHEREPORE, Plaintif`f` prays this Honorable Court to appoint Casey Gritter, as Next

Friend to Plaintifi" minor Joseph Gritter for the duration of this matter.

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B : / _
AVID E. `(,(HRISTENSEN (P45374)

SARAH S. STEMPKY KIME (P74167)
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Dated: /D/¢Z~G>/,LO/ g

I, CASEY GRITTER, hereby agrees to be appointed as Next Friend ad is willing to execute those

duties in accordance with the law. (\

CASEY GRITTEill U "`

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BRIEF IN sUPPoRT oF PLAINT!FF’s Ex PARTE MoTIoN To APPOINT NEXT
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Plaintiff relies upon the Federal and Michigan Court Rules in support of his Motion.

/A /M

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